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    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 19-0302V
                                         UNPUBLISHED


    HEATHER A. CHASMAN,                                       Chief Special Master Corcoran
    Executor of the
    ESTATE OF STEPHEN BURRITT,                                Filed: April 20, 2020

                         Petitioner,                          Special Processing Unit (SPU);
    v.                                                        Ruling on Entitlement; Concession;
                                                              Table Injury; Influenza (Flu) Vaccine;
    SECRETARY OF HEALTH AND                                   Guillain-Barre Syndrome (GBS)
    HUMAN SERVICES,

                        Respondent.


Matthew F. Belanger, Faraci Lange, LLP, Rochester, NY, for petitioner.

Traci R. Patton, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1

        On February 26, 2019, Heather A. Chasman filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq., 2 (the “Vaccine Act”). Petitioner alleges that her father, Stephen Burritt, suffered
Guillain-Barré Syndrome (GBS) due to an influenza (“flu”) vaccine administered to him
on September 28, 2017, which led to his death on October 25, 2017. Petition at 1. The
case was assigned to the Special Processing Unit of the Office of Special Masters.



1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the ruling will be available to anyone with access to
the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       On April 20, 2020, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, Respondent concludes that Mr. Burritt suffered the Table injury of
GBS following a flu vaccine within the Table time period, and there is not a
preponderance of the medical evidence that his GBS was due to a factor unrelated to
the vaccination Id. at 5. Respondent further agrees that the claim also meets the
statutory severity requirements because the medical records establish that Mr. Burritt
died as a proximate cause of his GBS. Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




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